                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
vs.                                               )     Case No. 21-00281-01-CR-W-GAF
                                                  )
THOMAS W. PITTS,                                  )
                                                  )
                       Defendant.                 )



                                             ORDER

       Pending is Defendant Thomas W. Pitts’s pro se Motion to Dismiss. Doc. 30. Pursuant to the

Court’s Scheduling, Trial, and Continuance Order, “Pro se filings will not be accepted for defendants

who are represented by counsel.” Doc. 26 at 3 (emphasis in original). Because Defendant is

represented by counsel, any relief he seeks must be filed by his attorney of record. Accordingly,

Defendant’s pro se motion is DENIED WITHOUT PREJUDICE. If Defendant’s counsel believes

there is any merit to Defendant’s pro se motion, she may file a separate motion.

       IT IS SO ORDERED.

DATE: August 11, 2022                                   /s/ W. Brian Gaddy
                                                      W. BRIAN GADDY
                                                      UNITED STATES MAGISTRATE JUDGE




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